EXHIBIT 7
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                February 27, 2018

               Theodore A. Howard, Esq.
               Wiley Rein LLP
               1776 K Street, NW
               Washington, DC 20006

               Re: John Doe, et al. v. Shenandoah Valley Juvenile Center Commission

               Dear Mr. Howard:

           On November 10, 2017 we discussed my willingness to serve as an expert witness
           on the case referenced above and agreed that I would serve in that capacity. The
- - - - - -ronowfng is a reportaaaresstng:1."") my psyclToJo-gmrl--evato·atiou of--PJ-aintiffiohn--B-oe- - - - - -
           1 (who was a detainee at the Shenandoah Valley Juvenile Detention Center for an
           extended period of time), the conditions under which he was detained, and the
           appropriateness of the treatment he received; 2) my review of the declarations of
           the two other plaintiffs and three other individuals who were formerly detained at
           Shenandoah; 3) my prior clinical experiences in evaluating unaccompanied alien
           children who are in detention in the United States; 4) standards of care for treating
           UACs and other youth who are in detention; and 5) my opinions regarding the
           appro riateness of care off~r~d to the plair_:i.tiffs~    Shenandoah and how their
           experiences there impacted them.

               Executive Summary:

          Shenandoah Valley Juvenile Center (SVJC) staff do not understand the
          manifestations of trauma and stress in youth and are not well trained in utilizing
          trauma-informed approaches that are the standard of care in all stages of the
          juvenile justice system. The predominant approach utilized to manage youth at SVJC
          is punishment and behavioral control through methods such as solitary
- - ~ ___ co.nfinernen_t,_~sical restraint, stra1212in to a chair and loss of behavioral levels.
          These approaches are not only ineffective, but have a profound negative impact on
          youth, can seriously impair their development and psychological well-being, and can
          cause or exacerbate mental health problems including panic attacks, suicidal and
          self-injurious behavior, psychotic symptoms, paranoia, and hopelessness. Because of
          their special vulnerabilities and needs as adolescents, the use of these approaches is
          a cruel and harmful practice when utilized and can have long-term deleterious
          consequences that are difficult to remediate. The mental health care and the overall
          care provided at SVJC are deficient and fall well below the standards of care in the
          juvenile justice system.


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 Qualifications /Background:

 1.        I am a licensed clinical psychologist. I received my doctorate in clinical
       psychology from the Illinois School of Professional Psychology in 1989. I became
       licensed in Illinois in 1990. As part of my professional training, I completed a
       one-year internship in clinical psychology and a one-year fellowship in
       adolescent health psychology at Cook County Hospital (now John H. Stroger, Jr.
       Hospital of Cook County).

 2.       I was a Clinical Psychologist in the Department of Psychiatry at Stroger
      Hospital from September 1987 - July 2013. I worked with children, adolescents,
      and adults including those who had chronic medical illnesses and/or were
      traumatized or abused. I was Co-Director of the Adolescent & Young Adult Clinic
      and Coordinator of the Child & Adolescent Inpatient Consultation-Liaison
      Service that provided assessment and consultation to the pediatric, trauma, and
      ob-gyn units, as well as to the Child Protective Services team and the pediatric
      emergency room. During my time at Stroger, I evaluated many detainees from
      the Cook County Juvenile Temporary Detention Center and worked at the center
      for a period of four months when they were understaffed.

3.       In addition to working at Stroger Ho~pital, I was a Lecturer in the Department
      of Behavioral Sciences at Rush University Medical Center in Chicago from
      January 1998 - July 2013. I have had a private practice in Wheaton, Illinois since
      1987, working primarily .with adults providing individual, couples, and family
      therapy. Since 2013 I have also been the Clinical Director of The Counseling
      Center at the First Presbyterian Church of Evanston. In addition, I provide
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      school that is predominantly Latino.

4.       I have served on two medical missions with the Syrian American Medical
      Society providing psychological trauma services to Syrian refugees living in
      Jordan, primarily to those living at the Zaatari Refugee Camp.

5.       I was guest co-editor for a special issue of the Journal of Child and Adolescent
      Trauma: Resilience-Based Approaches to Trauma Intervention for Children and
      Adolescents (Volume 9, Issue 1, March 2016).

6.       I am a member in good standing of both the American Psychological
      Association and the Illinois Psychological Association.

7.       I have done numerous forensic psychological assessments in Special
      Immigrant Juvenile Status and asylum cases in the United States and have also
      done several forensic psychological assessments of immigrants involved in civil
      cases. I have completed the training by the Physicians for Human Rights Asylum
      Program on "Aiding Survivors of Torture & Other Human Rights Abuses:
      Physical and Psychological Documentation of Individuals Seeking Humanitarian


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                       Protection in the U.S." I am familiar with the Istanbul Protocol: Manual on the
                       Effective Investigation and Documentation of Torture and Other Cruel, Inhuman
                       or Degrading Treatment or Punishment. I have received training in forensic
                       psychological assessment and testimony from the American Psychological
                       Association and in forensic report writing, comprehensive assessment of
                       feigning in forensic contexts, and forensic assessments in immigration
                       proceedings from the American Academy of Forensic Psychology. I have done
                       trainings for Physicians for Human Rights, the Vera Institute of Justice, the
                       Young Center for Immigrant Children's Rights, and the Loyola Center for the
                       Human Rights of Children on the topic of forensic psychological evaluation of
                       trauma in the context of asylum and immigration.

                 8.       I have personally evaluated about 25 UACs since 2004 for reasons of asylum
                       and Special Immigrant Juvenile Status. Most have been referred to me from the
                       Young Center for Immigrant Children's Rights, but others have been referred
                       from the National Immigrant Justice Center, the DePaul Asylum & Immigration
                       Law Clinic, the Loyola Civitas ChildLaw Center, as well as various law firms. I
                       have als-e-clone-numer-0t1-s-eva-h:1-a-Eit> ns-e l'l-a-au-Jt-s-seek~ng-a-s-yhtm-. - - - -

                 9.       I was involved in a civil class action lawsuit brought by several women from
                       Central America against the federal government and the Corrections Corporation
                       of America after these women were sexually assaulted by a guard during
                       transport. I did not testify, but did provide deposition testimony. This case was
                       eventually settled (see Appendix B No. 1).

                 10.      I, along with several others, submitted a brief to the United States Court of
                       Appea s for the FourtITircuit fn support of an a11en ch1Tc:1 wnowas detainecr6y - - - - -
                       the Office of Refugee Resettlement (ORR) despite the availability of his mother to
                       care for him in the United States (see Appendix B No. 2).

                 11.      I am familiar with conditions of detention and mental health treatment for
                       unaccompanied minors who reside in facilities similar to the Shenandoah Valley
                       Juvenile Justice Center as a result of my work in doing Special Immigrant
                       Juvenile Status and asylum evaluations, as well_ as my involvement in civil cases
                       brought against other juvenile facilities.

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                 d eten ti on centers in the U.S. that did not provide appropriate care to UACs. I
                 evaluated five youth as part of a civil case in 2009 brought against the Abraxas
                 Hector Garza Center ("Abraxas"), Cornell Companies, the Office of Refugee
                 Resettlement, U.S. Immigration and Customs Enforcement, the Texas
                 Department of Family and Protective Services, and the city of San Antonio
                 alleging tha~ these youth were physically and emotionally abused while residing
                 at Abraxas. I did not testify and did not provide deposition testimony. This case
                 was eventually settled (see Appendix 8 No. 3). The Division of Unaccompanied
                 Children's Services (DUCS) terminated its contract with Abraxas for many


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          reasons including inadequate services. 1 I evaluated six youth as part of a civil
          class action lawsuit brought against the federal government alleging that these
          youth were sexually, physically, and emotionally abused while residing at the
          Texas Sheltered Care Facility in Nixon, TX. I did not testify, but did provide
          deposition testimony. A settlement agreement was reached with the facility and
          its employees, but the case against the United States and its employees was lost.
          The case has been filed with the Inter-American Commission on Human Rights
          (see Appendix B No. 4). DUCS had been previously alerted to problems at Nixon
          by child advocates, but no action had been taken. 2

    13.      The boys that I evaluated for both of these lawsuits were all UACs from
          Central America. Most of them had experienced various forms of abuse, neglect,
          abandonment, and violence from their families and communities, and many had
          also been traumatized during their journey to the U.S. They came to the U.S. to
          get away from their abusive environments in the hopes of obtaining a better life.

14.          The youth who were at Abraxas reported physical and verbal abuse;
          inadequate medical care; confinement; denied access to attorneys;_and abru t
          transfers to other facilities with no explanation. The youth I evaluated for the
          Nixon litigation also reported significant abuse.

15.          It was my opinion that all but one of the youth I evaluated at both facilities
          had suffered substantial physical, mental, and emotional harm as a result of the
          abuse they experienced while in detention. Most had experienced prior traumas
          that were exacerbated due to the traumas they experienced in detention. Most
          were diagnosed with PTSD, depression, and/or anxiety.

16.          It was also my opinion that these youth had not been provided with a safe
          and humane environment in which to live and that they had not received
          adequate mental health care.

Materials Reviewed:

17.         See Appendix A.

Unaccompanied Alien Children and Complex Trauma:

18.       Children who come to the United States unaccompanied from other countries
      (unaccompanied alien child - "UAC") come for a variety of reasons including:
      fleeing parental abuse and neglect; fleeing violence and unsafe conditions in

1 Halfway home: Unaccompanied children in immigration custody. (2009). Women's
Refugee Commission.
https://www.womensrefugeecommission.org/resources/document/196-halfway-
home-unaccompanied-children-in-immigration-custody
2 Ibid.



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                      their home country; fleeing persecution; to join parents or other relatives
                      already living in the U.S.; and a desire for a better life in which they will have
                      opportunities to work and go to school. Some children are also involuntarily
                      trafficked into the U.S. as part of the worldwide labor and sex trafficking
                      industry.3 UAC's are vulnerable before, during, and after their journey to the U.S.
                      because they do not have adult protection and are unable to properly care for
                      themselves.4

                19.       Most UACs have experienced abuse, neglect, and trauma within their home
                      countries, but are then faced with the additional stresses of migrating to the U.S.
                      often traveling through unsafe and dangerous countries over a period of weeks
                      and months. During their journey - which may take them through multiple
                      countries - UACs may undergo highly traumatic experiences including: going
                      days without food, water, or shelter; being exposed to unsanitary conditions;
                      getting sick or injured; being robbed or kidnapped; being beaten; being raped;
                      watching others being tortured or murdered; having to survive in the jungle; and
                      having to survive crossing through deserts and rivers. Once they arrive in the
                     _US, UACs maY- b e _further___traumatized if ag__prehended by Immigration and
                      Customs Enforcement and detained. In addition, they have to adjust to living in a
                      country in which they often do not speak the language and are unfamiliar with
                      the customs. All of these experiences contribute to UACs who are likely to have
                      suffered extensive and multiple instances of abuse and trauma, often referred to
                      as complex trauma, prior to any trauma they may experience if detained.

               20.        Complex trauma occurs when a child has been exposed to multiple, chronic,
                     and prolonged traumatic experiences that are often of an interpersonal nature
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                     brain (i.e., prolonged activation of the body's stress response system) and result
                     in a loss of core capacities for self-regulation and interpersonal relatedness.6
                     Trauma-exposed children develop psychological symptoms including
                     hypervigilance, over reactivity to perceived threats of danger, difficulties in
                     calming themselves, and avoidance or dissociation - i.e., they try not to think
                     about their traumatic experiences so as not to be overwhelmed by them and can


               3 Levinson, A. (2011). Unaccompanied immigrant children: A growing phenomenon
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              https: / /www.migrationpolicy.org/print/ 43 28
              4 Young, W., & McKenna, M. (2010). The measure of a society: The treatment of

              unaccompanied refugee and immigrant children in the United States. Harvard Civil
              Rights-Civil Liberties Law Review, 45, 247-260. http://harvardcrcl.org/wp-
              content/uploads/2009 /06/24 7-260.pdf
              s Van der Kolk, B. (2005). Developmental trauma disorder. Psychiatric Annals, 35,
              401-408.
              6 Cook, A. et al. (2005). Complex trauma in children and adolescents. Psychiatric
              Annals, 35, 390-398.


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                  become very distressed when these experiences come to mind.7 Children who
                  have been abused develop strategies and mechanisms to manage their anxiety
                  and to cope with their abuse (e.g., fleeing the abuse, fighting back, or emotionally
                  detaching from the abuse). This is what is typically referred to as the "fight" or
                  "flight" response and gets activated when the child is in a situation or interacting
                  with someone that triggers past memories of the abuse. The child is essentially
                  doing his or her best to "survive-in-the-moment" in response to a threat or
                  perceived threat that is overwhelming and for which they have limited abilities
                  to soothe and regulate themselves.

             The responses of children who have experienced complex trauma are rooted
            21.
          in their past traumatic experiences (which may include parental abuse and
          neglect) that can be easily triggered in an environment - such as a detention
         center - where staff are not trained to see how their own actions and words can
         precipitate traumatic memories and, therefore, survival-in-the-moment
         responses on the part of detainees as a way of managing these traumatic
         memories. Once a child knows what it is like to feel danger and terror, it takes
         very litti.e_new_ thr.eat ta reignite it a Childr.e.n___.who_hav_e_b_een abused develop
         strategies and mechanisms to manage their anxiety and to cope with their abuse
         (e.g., fleeing the abuse, fighting back, or emotionally detaching from the abuse),
         and these strategies become activated by the parts of the brain that control basic
         emotionality and survival-motivated behavior and prepare the body for
         emergency responses. Sensory information from the environment is transmitted
         very quickly and unconsciously so that the child has a chance to · respond
         immediately to the danger or perceived danger. Analysis of details and the
         context of the situation are sacrificed for speed of transmission so that the child
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        22.      Youth who experience complex trauma often do not meet criteria for
              Posttraumatic Stress Disorder (PTSD), but instead are given several diagnoses
              that reflect their various symptoms and behaviors (e.g., depression, conduct
              disorder, anxiety). This often leads to attempts to treat each of these particular
              diagnoses rather than seeing that all of these are part of a complex trauma
              presentation. It is not that these youth are not depressed or anxious or have
              behavioral problems, it is that these need to be viewed as manifestations of, and
              coping methods for dealing with, their past abuse and trauma.


        7 Dudley, R. (2015). Childhood trauma and its effects: Implications for police. New
        Perspectives in Policing Bulletin. Washington, D.C.: U.S. Department of Justice,
        National Institute of Justice. NCJ 248686.
        a Garbarino, J. (2008). Children and the dark side of human experience. New York:
        Springer.
        9 Saxe, G., Ellis, B., & Ka plow, J. (2007). Collaborative treatment of traumatized

        children and teens: The trauma systems therapy approach. New York: The Guilford
        Press.

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 23.       Youth who have been abused will often unconsciously get drawn into, or
       draw others into, situations in which they can try to master their past abuse. For
       example, a youth who felt powerless and helpless when physically abused as a
       child might be drawn to, or draw others into, situations in which he/she could
       feel powerful and in control and, in this way, undo or master their previous
       victimization and abuse.

 Evaluation of Plaintiff John Doe 1:

24.        On August 10 and August 11, 2017 I evaluated Plaintiff John Doe 1 at the
        request of the Young Center for Immigrant Children's Rights. The evaluation was
        requested to provide an understanding of Doe l's past trauma and detention
        history, the impact this had on him, and recommendations for future placement
        and treatment. The evaluation was conducted at the Legal Aid Justice Center in
        Charlottesville, VA over a period of 10 hours with the assistance of Mr. Jeff
        Divers, who served as my Spanish-English interpreter. Doe 1 was also
       .administered several psychological tests and questionnaires (as adjuncts to the
      -Cli.ni.caLint~v.i.ew)- tha.Lassess... fOLanx.Let)l,_cie.p.res.sion, traumatic life ev...e..nt.s,._ _ _ __
        behavioral problems, self-esteem, and cognitive functioning. At the time of the
        evaluation, Doe 1 was a UAC at the Shenandoah Valley Juvenile Center (SVJC).

25.       Doe _1 is a 17-year-old Mexican youth. His childhood history in Mexico
      indicates that he had experienced abuse and neglect from his parents and
      struggled with depression. Doe l's father drank a lot and would become violent.
      He physically abused Doe 1 (this was confirmed by the Young Center after
      conversations with Doe l's mother) with objects such as shoes, belts, and cables
      aml-psydroto-gicatlyabus-ed-lrtnrby-sayi ng-D oe 1 was-not-his-chHd--an-d-by-m-aki-ng
      other disparaging remarks. His mother was unable to adequately protect him
      from the father's abuse and appears to have been unable to provide Doe 1 with
      the nurturance and support he needed to process, understand, and cope
      effectively with his father's abuse. Doe 1 has no positive memories of his father.

26.      Doe 1 would cry and feel scared and angry when his father abused him and
      would frequently run away from the house to escape the abuse. He would run
      and hang out on the streets or hide near the river and either his mother would
      come and get him or he would return home on his own after about half a day.

27.       Doe 1 was frequently teased about his physical appearance when he was a
      child. He dropped out of school when he was 14 years old because he lost
      interest and was getting into fights.

28.       Doe 1 came to the U.S. right after his 15th birthday because he felt unsafe and
      unhappy in Mexi!=O due to the violence there and because he wanted the
      opportunity for a better life. He would eventually like to have a family and work
      in a car factory.



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               29.       Doe 1 expressed fears of being killed by the drug cartels if returned to Mexico.

               30.       I diagnosed Doe 1 with: 1) Child Physical Abuse, Confirmed; 2) Child
                      Psychological Abuse, Suspected; 3) Major Depressive Disorder (MOD), Recurrent
                      Episode, Moderate; 4) Persistent Depressive Disorder (Dysthymia); and 5)
                      Conduct Disorder, Unspecified onset, Moderate.

               31.   Results of the evaluation indicate that Doe 1 is a very depressed young man
                 with serious doubts about his self-worth who has limited abilities to regulate his
                 mood and behavior when upset. He desires to better control his temper and
                 admits to feeling bad when he hurts someone. He experiences a high degree of
                 behavioral and emotional maladjustment and does not easily trust others
                 because he fears being taken advantage of. Doe 1 vacillates between feeling
                 depressed and sad about where his life is at and that others do not like him vs.
                 liking that others are afraid of him because it gives him a sense of feeling
                 powerful and in control over them. He believes it is a sign of weakness to show
                 that he is depressed. Results of the evaluation also suggested that Doe 1 has
              - -below-a.verag_eJntellectuaLfunctioning.

               32.        Doe 1 became highly distressed during the evaluation when asked to talk
                      about his father. He had trouble discussing the abuse that he experienced with
                      any detail and at times completely shut down emotionally. He reported
                      forgetting and not wanting to remember things from his past - especially
                      memories regarding his father. While detaching .from these painful memories
                      allows Doe 1 to not have to feel the emotional pain associated with these
                      memories, it also serves to keep these hurtful memories buried inside him like
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                      reminded of the abuse.

               33.
                 Although Doe 1 did not meet criteria for Posttraumatic Stress Disorder
              (PTSD), it is my opinion that, from a complex trauma framework, his behavioral
             and emotional difficulties have most likely resulted from and been shaped by his
             early childhood abuse and neglect and have been exacerbated while he has been
             in detention. Complex trauma is not a diagnosis listed in the Diagnostic and
             Statistical Manual of Mental Disorders, Fifth Edition (DMS-5), but is likely to be
             included in the next edition of the DSM. Viewing Doe l's problems from a
- - - - - - -,comptex=trauma_p.erspectili.eJs critical in tha.Lit DOj~ ~s::=to exp=la=i_,_,_n_,h=·=--- - - - -
             behaviors and moods, but also helps to understand both the type of treatment
             and environment that he will best respond to and how his experience at SVJC has
             exacerbated his pre-existing trauma. In other words, understanding that youth
             such as Doe 1 are traumatized can avoid creating additional harm and improve
             the diagnoses and facilitate matching them to trauma-informed services.

              34.       It was my opinion that it would be detrimental for Doe 1 to be returned to
                     Mexico and I recommended that he receive services in · a trauma-focused
                     residential treatment facility. It was my belief that his depression and aggressive


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                        behaviors originated in his adversity and trauma and would likely not improve
                        without proper trauma-focused treatment in a safe environment over an
                        extended period of time. It was also my opinion that Doe 1 would probably
                        never fully recover from the traumatic events that he experienced as a child (and
                        while detained at SVJC) without proper trauma-informed treatment.

                  Doe l's Experiences in Detention at SVJC:

                  35.       Doe 1 reported feeling very depressed while in detention at SVJC. He felt
                        "stuck" and "trapped" because he was not allowed to go outdoors much. At times
                        he felt so depressed that he struggled to get out of bed in the morning and had
                        thoughts that he would be better off dead.

                  36.       Doe 1 experienced many forms of repeated and prolonged abuse and
                        punishment while in SVJC detention including teasing and physical assault from
                        staff, humiliation when being observed using the toilet, being confined to his
                        room or restrained to a chair (sometimes with a mask put over his head) for long
                        periods of ti me, a nd-bei.ng. J.oc.ced..--t~at-handc.uffs_anci..sba ck) es.__These_actLo ns_ _ __
                        on the part of staff replicated and exacerbated the abuse and teasing that he
                        experienced as a child from his father and his peers, and further traumatized
                        Doe 1. Several examples will be provided below.

                 37.
                 Doe 1 tended to respond to his traumatic experiences in both internalizing
              and externalizing ways. At times he would internalize by withdrawing from
              others and engaging in self-injurious acts such as cutting himself with an object
              or hitting his head against the wall when upset. On several occasions, he talked
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              were not his fault.

                           "I feel all torn up inside, but I don't show this to people because it is a sign of
                           weakness. I feel like there is something broken with me. When I feel bad, it
                           comes up on me suddenly and I just want to be left alone and sit in the sun."

                 38.For example, on 07 /10/16, Doe 1 refused to leave his room and engaged in
               self-injurious behavior (carving initials on his chest and banging his head against
               the wall). Subsequent discussion with his counselor on 07 /11/16 suggested that
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               one of his peers. The counselor seemed more concerned with why Doe 1 self-
               harmed and what the meaning was of the initials he carved on his chest than on
               understanding his experience of being bullied, the feelings that this triggered in
               him (e.g., fear, anger, shame, self-loathing), and more appropriate ways to
               manage these feelings.

                 39.      At other times Doe 1 would get "really angry" and act out aggressively. He
                       thought that others did not like him and would get upset and feel "bad" when
                       others insulted or pushed him, and would want to retaliate. He stated that his


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                         "adrenalin would kick in" when he felt insulted or abused and this would
                         sometimes cause him to respond aggressively.

                            "/ feel depressed and rejected and take it out on whoever is around. There is
                            nothing I can do about my bad feelings, so I attack people because I can't
                            tolerate my bad feelings."

                 For example, Doe 1 was involved in an incident during recreation time on
                   40.
              04/20/16 in which he was verbally redirected several times to not forcefully
              throw the ball. Doe 1 failed to obey and continued to throw the ball. He cursed at
             staff and a physical altercation ensued. This resulted in Doe 1 being physically
             restrained, confined to his room, and losing all of his behavioral levels or
             "points".10 This altercation occurred only five days after Doe 1 had been
             transferred to SVJC and appears to have set the tone for further aggression from
             both Doe 1 and staff throughout his detainment. The progress note dated
             04/20/16 said, "UC stated that this staff member spoke to him 'like my father'
             which caused him to react with physical aggression." This statement and the
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             providing his mental health counselor the lirik between his prior abuse and his
             current reaction, yet there was no attempt by the counselor to process this with
             Doe 1 despite their meeting for 60 minutes. Had this been recognized as a
             traumatic trigger for Doe 1, a different treatment approach could have been
             utilized which would have included working with Doe 1 to calm himself and
             express his anger in other ways and to work with the staff member to be aware
             of how his words triggered Doe 1 so as to be more aware of this in their future
            interactions. Second, things appear to have escalated after Doe 1 cursed at the
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            towards staff and a fight ensued. While it is understandable that the staff
            member likely felt disrespected, it appears that this staff member may have
            unnecessarily provoked Doe 1 through his words and actions. This would have
            been an opportunity to utilize de-escalation strategies to defuse the situation.
            However, there is no indication that this was done. Instead, "with no time left for
            less intrusive intervention, Doe 1 was placed in a physical restraint." Third, this
            incident exemplifies that the predominant approach utilized at SVJC is one of
            behavioral control and punishment. This incident very likely set the stage for
            Doe 1 to not feel safe at or understood by the staff at SVJC and to feel angry for
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            difficult to manage because of the ensuing anxiety. Doe 1 had recently
            transitioned from NOVA, a staff secure facility in Virginia, and may have been

                 10 Points are given to reinforce behaviors such as turning in schoolwork and taken
                 away to punish behaviors such as fighting or cursing. The total number of points is
                 used to determine the behavioral level of a detainee. The lower the behavioral level,
                 the less privileges the detainee has. Unfortunately, staff may arbitrarily give or not
                 give points based on their own attitude and mood at a particular time rather than
                 relying on objective criteria and administering the point system consistently.

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                       confused about the expectations at SVJC. He may have also been experiencing
                       shame as a result of being sent to a more secure facility. However, there was no
                       attempt on the part of his counselor to discuss Doe l's feelings about the recent
                       transition and the adjustments he was having to make.

                 41.      Four days later, on 04/24/16, Doe 1 again lost all of his behavioral levels and
                       was restricted to his room for disruptive behavior and assault on staff. When
                       meeting with his mental health counselor the following day, the "clinician
                       emphasized to UC the significant consequences that can occur if he were to
                       continue assaulting staff/peers while at the facility." Again, there was no effort to
                       process with Doe 1 what his feelings and thoughts were during this incident and
                       to help him learn more adaptive ways to cope; instead, the main intervention
                       was to punish him and to emphasize his need to behave better.

                42.     On 05/03/16, Doe 1 lost all of his behavioral levels and was confined to his
                     room for stealing a pencil. On 05/04/16, he was put in restraints and confined to
                    his room for assaulting a peer. In his therapy session on ·05/05/16, his counselor
                 - -"empn-a-si-ved---eeto!:i-th e-i-mmefi-i-a-t-e- a-n4--l G-r-1.g,..te-i:-m-co-J'.J.seq.uences-of h iS-aggr.essh, e
                    behavior at the facility/ outside in the community." The only effort made to help
                    Doe 1 process his behaviors was when· the counselor tried to get him to discuss
                    his "motives," which Doe 1 had difficulty doing. This is not an effective approach
                    with impulsive youth, as they often do not know why they are behaving in
                    certain ways. An effective approach would have been to ask him what he was
                    thinking and feeling before he took the pencil and before he assaulted the peer,
                    to link these thoughts and feelings to his subsequent behaviors,.and to help Doe
                    1 understand how his behaviors were likely efforts to survive in the moment and
                    to se -regula e emo ions sucn as aepress1on, Ione1lne-ss;--fe--a-r; or angery-that
                   were distressing him.

                 In his session with his counselor on 08/01/16, Doe 1 attributed much of his
                43.
             acting out at the facility to "bad dreams" that upset him during the day. "UC
             stated that his dreams often include staff members and previous cartel members
             involved in violent acts." This was a clear indication that Doe 1 was carrying
             around a great deal of traumatic anxiety with him during the day and was an
             opening for the counselor to further process Doe l's experiences .of trauma, as
             well as to provide education for Doe 1 as to what trauma is, how it is carried in
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             on whether the content of the dreams was true and to reiterate the
             consequences that would occur if Doe 1 were to continue assaulting others. -

                44.      A psychological evaluation was completed by Gustavo Rife, Psy.D on
                      05/04/16 at the request of Mr. Evenor Aleman, Doe l's mental health counselor
                      at SVJC. The results of this evaluation and the recommendations appear to have
                      contributed to the behavior control and punishrnent approach utilized at SVJC
                      rather than a more trauma-focused approach. For example, Dr. Rife states,
                      "Testing also indicated that [Doel] consistently approves of antisocial behavior

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                    and has a generalized predisposition to resolve problems of social and personal
                    adjustment in ways that disregard social customs and rules." This statement sets
                    up Doe 1 to be viewed as being predisposed to antisocial behavior vs.
                    considering that his "antisocial behavior" may, instead, be behavior that has
                    been learned in response to his past abuse and distrust of others and which can
                    be easily triggered in situations in which he is treated (or perceives that he is
                    being treated) unfairly and harshly.

              45.       Dr. Rife also states, "There was also a history of physical abuse and possible
                    exposure to other trauma, but there are no evident symptoms for PTSD at this
                    time." While I agree with this statement, it does not go far enough in recognizing
                    that youth with complex trauma often do not meet criteria for PTSD and often
                    have several diagnoses ( e.g., depression, conduct disorder, etc.) that become the
                    focus of treatment rather than the underlying trauma and abuse that drives
                   these moods and behaviors. Dr. Rife goes on to state," ... testing indicates that his
                   interpersonal difficulties ·rriay be due more to social anxiety than a complete lack
                   of regard for other people .... he also had a very low score on his sense of
                   rel a teEl.fte-s-s-s-uggesti-Rg gr-eat-di-tti-€-1:l+ti e-s-b@i-n-g--i-n--r-@J.a.oo.n.shlps~t- i.s-my- o.p.i ni on-
                   tha t this more accurately captures the trauma and anxiety that gets easily
                   triggered in reactively aggressive ways when Doe 1 is around others. However,
                   rather than focusing on ways to address his underlying anxiety and trauma, the
                   approach taken at SVJC was largely to just control his aggression and self-
                   injurious behavior. This was further reinforced by Dr. Rife's recommendation
                   that "[Doe l's] persistent anger, self-centeredness, lack of respect for authority
                   and lack of concern about others put him at high risk for antisocial acting out
                   which needs to be directly confronted and contained." Again, the emphasis here
                   1s on controlfing antisocTar5enav10r rafner tnan considering tlrartrtsa rt1ng-1Yut
                   behaviors may be defensive reactions to protect himself from further
                   victimization by those in his environment.

             46. In his summary of Doe 1, Dr. Rife states, "He does not appear to suffer from
             active symptoms of serious mental illness that significantly impairs his cognitive
             competence to make informed decisions although his cognitive abilities may be
             temporarily impaired when he is highly angered or upset. " It is my opinion that
             this statement minimizes the impact of Doe l's depression and past
             abuse/trauma on his ability to function in the moment when his reaction to past
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             report that Doe l's behaviors are often in reaction to his environment and to
             those around him and are an attempt to "survive" in the moment when there are
             reminders of his past abuse and traumas, rather than simply manifestations of
             disregard for others and delinquency.

             47.      During the course of my evaluation of Doe 1, he was noticeably agitated and
                   restless when discussing his experiences in detention. His legs were constantly
                   shaking, he pulled apart the paper cup he was drinking from, and kept looking
                   down at his feet. He said that talking about these experiences reminded him of


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                       when he was growing up and would feel bad about himself because kids would
                       tease and make fun of him. He also said that witnessing other boys being
                       mistreated was upsetting to him because it reminded him of his father's abuse.
                       He would sometimes try to defend the other boys and would then be punished
                       for this by being put in restraints or confinement.

                 48.      Based on the information provided above, it is my opm10n that Doe l's
                       traumatic childhood history of abuse, neglect, and teasing has been replicated
                       while in detention. Individuals with this kind of history are extremely vulnerable
                       to becoming emotionally and behaviorally dysregulated in situations where
                       others are saying or doing things that are abusive or demeaning. Even such
                       subtle interpersonal signals as a harsh look, a critical tone of voice, or a
                      _humiliating comment could be enough to trigger a_ traumatic reaction of "fight"
                       or "flight" in s_o meone like Doe 1. As described above, his usual responses
                       vacillate between those that are internalized (i.e., fleeing or detaching) and those
                       that are externalized (i.e., fighting). "Fleeing" is a survival behavior that he
                       learned as a child to get away from his father's abuse and may partly explain his
                       threats to run away from the detention center and being labeled a "flight risk."
                       However, Doe 1 also reported numerous situations in which he felt insulted or
                       humiliated by things staff said or did to him and would go into fight mode and
                       become reactive and aggressive. Later, when staff would ask him why he
                       responded the way he did, he would often not know why. He was simply
                      surviving in the moment.

           49.     Doe 1 has difficulties self-regulating his emotions (e.g., humiliation, fear,
    - - - - -~er, self-loathin ) and behaviors ~g., aggressiveness), especially_w     '--'-
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               with situations in which he does not feel safe. It is my opinion that it is highly
               likely that many of Doe l's aggressive behaviors (both self and other directed) in
               detention were survival responses to situations in which he felt in danger (or felt
               another detainee was in danger), much as he felt with his dad. An environment
               in which people intentionally or unintentionally provoke an abused child and
               then focus on limiting, shaming, and punishing the child can lead to further
               acting out (because the child does not feel understood and feels angry and
               helpless) and to the child's being labeled as antisocial or delinquent rather than
               as a previously abused and traumatized child who is trying to survive in an
     _ _ _ _ environme t that i triggering him and not understanding or supp..orting him in
- - - - - - -Q-l'\.13ropriate wa~.- -

                50.      In my professional opinion, the abusive punishment Doe 1 experienced at
                      SVJC exacerbated his prior trauma and caused additional, long-term harm.

               Declaration ofJohn Doe 2:

               51.        Plaintiff John Doe 2 is a16-year-old Mexican youth. He has been living in the
                      U.S. since the age of 10 months and was taken into custody at the age of 16 by
                      immigration simply for not having identification. Doe 2 was detained at two


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             other facilities prior to being transferred to SVJC for behavioral problems. He has
             not been allowed outside of the facility for recreation. He attends school, but
             finds the academic work well below what he is capable of doing. He is likely
             bored as a result of this and this, in turn, may be contributing to his frustration in
             the classroom.

       52.       Doe 2 was diagnosed with Attention Deficit Hyperactivity Disorder (ADHD),
             depression, and anger management issues while residing at a staff secure facility
             in Texas. He was prescribed four m~dications for these problems including
             Prozac and Trazodone. While it is possible that Doe 2 is in need of and benefits
             from some, or all, of these medications, it is also possible that these medications
             are used primarily to try to control his behavior in lieu of other therapeutic
             strategies (e.g., trauma-focused therapy) and environmental modifications (e.g.,
             more recreational and social opportunities, more appropriate educational
             opportunities) that would improve his attitude, increase his ability to cope, and
             decrease his acting out.

       53.      Doe 2 witnessed many of the SVJC staff insulting and making....derGga.tG-J.:'.Y-
             remarks about many of the Hispanic youth. He was retaliated against (i.e., he
             lost points) for informing the other kids as to what the staff was saying about
             them. Doe 2 experienced racism and discrimination at SVJC and submitted a
             report to the facility director. He complained that the immigrant kid? did not
             receive the same privileges as the local kids (e.g., they were not ,;1.llowed to go
             outside as much and did not have X-boxes in their pods or computers in their
             classrooms).

      S-4-. -·1Joe2reports several mstancesof"l1arsh anda busive t r eatmen:rwnrle at-sv-re.
            On one occasion, he cursed in the classroom and was taken to his room. He
            became resistive and was handcuffed and had his face pushed into the wall. He
           was confined to his room until the next day. On another occasion, after being
            confined to his room for a day and a half, he had an altercation with staff which
           led to his being strapped to a chair with a bag (with holes in it) put over his head.
            He was kept tied to the chair for 30 - 40 minutes, after which he was again
           confined to his room for one and a half days. Doe 2 was confined to his room on
           several occasions for resisting staffs attempts to remove him from the program.
           His mattress, blanket, personal items, and clothes were taken from him during
- - - --.       oiiliru            e    O e ex enencesot confinement for Ton ~o S of·- - - - - -
           time, being handcuffed, having .his head physically pushed into a wall, being
           strapped to a chair with a bag over his head, and having his mattress and other
           belongings removed from him are, in my opinion, highly detrimental,
           unreasonable and abusive. They fall below all professional standards of which I
           am aware.

      55.       Doe 2 reports several instances of being restrained by staff and taken to the
            floor, often by three or four men using force against him. He was often left with
            bruises as a result of this. While there are times that some youth may need to be


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                     physically restrained for their own safety or that of others (much as an
                     inconsolable baby sometimes needs to be swaddled or a small child who is out of
                     control needs to be put in "time out"), these types of interventions should only
                     come after other efforts have been made to de-escalate the situation, and should
                     only be used for the period of time it takes for the youth to regain control. Once
                     control has been established, the restraints should be removed. In my opinion,
                     there are very few, if any, situations in which it is justified to have three or four
                     large men jump on a smaller youth (much less push his head into a wall) or for a
                     youth to have to be strapped to a chair with a bag over his head.

               56.       Doe 2 reports feeling sadness, anger, and frustration at being locked up at
                     SVJC. This is likely compounded by the fact that he has lived in the U.S. for over
                     15 years and was only arrested for failure to have identification on him. On one
                     occasion he cut himself and on several occasions got into verbal and/or physical
                     fights with the other kids. This suggests that he does. not know how to
                     emotionally self-regulate and self-soothe. He does not report any efforts by staff
                     to talk to him about his feelings and thoughts, so it is not clear whether he was
                     provided w-ith-a-ey----t:-ype--o-H-hera13y-t:h-a-t- m-i-gh-t- h-av-e-h elpea-fl-i-m,~.- - -

               Declaration of John Doe 3:

               57.Plaintiff John Doe 3 is a 15-year-old Honduran youth who fled Honduras due
              to gang violence and death threats. He took busses and trains through Guatemala
             and Mexico to get to the U.S. border. He was assumed to be a gang member and
             was told that, for this reason, he was transferred from a facility in Texas to SVJC.
              Doe .3 reports several situations in which punishment resulted for no reason or
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             for holding the door to the art room open. This escalated and led to staff
             restraining Doe 3, pushing his face into the wall, and then two staff members
             slamming him to the ground. Subsequent to this, he was put on room
             confinement for the remainder of the day with no mattress or blanket, and only
             allowed to wear his boxers. The room was cold and he did not get his clothes
             back until the next day (although he did get his mattress and blanket back that
             evening). He reports numerous times in which his clothes were taken away. On
             at least one occasion, he was strapped to a chair with only his boxers on.

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              while he was handcuffed. He felt the staff would intentionally try to get him to hit
              them so they could punish him further. He tried to cover the window in the door
              to his room for privacy, but this led to several staff entering his room with plastic
              shields and becoming physical with him. Doe 3 felt the staff was racist and
              discriminatory in their treatment of the Hispanic kids compared to the American
              kids. He also felt the staff was intentionally disrespectful and provocative and
              that they administered the point system in an arbitrary and inconsistent manner
              which led to his earning fewer points than he should have earned.



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               Declaration of J.A.:

               59.      J.A. is a 15-year-old Mexican youth. He does not recall being given any
                     explanation as to why he was being transferred from BCFS in San Antonio to
                     SVJC and does not remember getting anything in writing explaining this. This
                     lack of transparency can create confusion, anxiety, susp1c10n, and
                     misunderstandings for the detainee. Transitions can be difficult in the best of
                     circumstances, but can be particularly stressful for youth such as UACs who have
                     not come from stable family situations.

               60.      The Division of Unaccompanied Children's Services (DUCS) Manual states
                     that all children placed in secure and staff-secure facilities will be given a Notice
                     of Placement in Secure and Staff-Secure form 11, which will explain the reasons for
                     the placement in that kind of f~cility and written in language the child
                     understands.12

              61.        J.A. reports considerable mistreatment during his time at SVJC. He reports
                     rece-i vi ng---d eme-a-ni-n-g-rema-rks-fro m st-a-ff,---b e·i-ng-f:) rn v 0 k-eEi-·by-s-re.f-f, seei-n-g-s-t-a-ff-l'l it-
                     other detainees, and being put in solitary confinement - often for long periods of
                     time. During some of these confinements he was not allowed to leave for any
                     reason.

              62. J.A. was restrained in a chair as punishment on at least one occasion. He was
            stripped of his clothes; handcuffed, strapped across his chest, had his feet and
            hands strapped to the chair, and had a white bag put over his head. He was left
            naked and attached to the chair for more than two days. This is highly unusual
            punishment an was i ely higlily traumatizmg- for J-:A--:-In my opinion, this
            borders on a form of torture. Torture, as defined by the Istanbul Protocol, is "any
           act by which severe pain or suffering, whether physical or mental, is
            intentionally inflicted on a person for such purposes as obtaining from him or a
           third person information or a confession, punishing him for an act he or a third
           person, has committed or is suspected of having committed, or intimidating or
           coercing him or a third person, or for any reason based on discrimination of any
           kind, when such or pain or suffering is inflicted by or at the instigation of or with
           the consent or acquiescence of a public official or other person acting in an
   _ __ ___o_f_fi_c_ia_l_ca acity. It does not include pain or suffering arising only from, inherent  ~ - __
- - -- -- -i-fHlfi-fl:e-i-El-enta+--Ee-lawfu.l--sa-RC-t-iOflc0c..-"~ - - -- - - -- - -- -- - -- - - - -- --


              11DUCS Manual, Section 5.02 cited in Halfway home: Unaccompanied children in
             immigration custody. (2009). Women's Refugee Commission.
             12 DUCS Manual, Section 2.05 and 3.02 cited in Halfway home: Unaccompanied
             children in immigration custody. (2009). Women's Refugee Commission.
             13 Istanbul protocol: Manual on the effective investigation and documentation of
             torture and other cruel, i!7-human or degrading treatment or punishment. (2004).
             Office of the United Nations High Commissioner for Human Rights.

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        Review of Declaration of R.B.:

        63.      R.B. is an 18-year-old male from Guatemala. He came to the U.S. with his mom
              when he was young, but ran away from home at the age of 13 and was picked up
              by immigration authorities. Due to his behavioral problems, he was eventually
              sent to SVJC.

        64.       While at SVJC, R.B. was frequently placed on room confinement for 3-5 days
              at a time for up to 23 hours a day. His mattress would be removed early in the
              morning and he would only be left with a book and a Bible. This isolation was
              difficult for him and led him to start talking to himself and banging his head
              against the wall. He felt like he was going crazy.

        65.      When he got into fights, he felt the guards used excessive force to.subdue him.
              He was frequently put into a restraint chair and left in it for long periods of time,
              sometimes for up to half a day, or "two shifts." He described his feet, legs, arms,
              and head being strapped to a metal chair. On one occasion, he had a mask put
              over his face after he spit at a guard. He described the chair as a physically
              painful and humiliating experience. One time he peed on himself when he was
              not allowed to go to the bathroom.

       66.       RB. witnessed the guards provoking some of the other detainees into fights
              and then pushing them to the ground and forcing them into restraints.

       67.      R.B. was undoubtedly traumatized by his confinement and restraint chair
           experiences at SVJC and experienced what I believe to be a form of torture and
         - e-r-1±el,---El-e gra-d-m-g-puni-s-ll-men-t-,------He-El-esff--i-ee-s-n-e t- ee-i n-g-hi m-s el-f- si-R-re- be-i-R-g
           detained at SVJC.

                  "When I left home I was just a little boy, but being there changed me. I'm not
                 optimistic anymore. Even now, my mom tells me that I changed a lot, that I'm
                 not the same person. I rarely go out with friends. I Just spend time with my
                 family now."

       Review of Declaration of D.M.:

- - --68:- B:M:-~      - -: ea-r-,otd---Hondur~male-wh-o--resided at~S-VJC-for-1-1--montfts:-He- - - - - -
         wi tnessed another boy being slammed to the floor after hitting a guard who had
         physically provoked the boy by grabbing his shirt and then pushing him. D.M.
         says this incident started because the guard was upset that the boy was not
         reading a book like he was supposed to. D.M. felt this whole incident was
         unnecessary.

       69.       D.M. believes the guards wrote up biased incident reports on the detainees
             and did not allow the "kid's side of the story to be heard. They never came and
             talked to us about what was going on inside of us."


                                                                                                                         17
 70.      D.M. reported that the guards were prejudicial and discriminatory in how
       they dealt with UACs vs. local American youth. The UACs were not allowed to
       have a roommate and lies were told to the local youth that the UACs had raped
       someone or had HIV. The guards called the youths derogatory names and
       insulted them.

 71.       D.M. had been previously diagnosed with PTSD, major depressive disorder,
       and bipolar disorder. He had taken medications when at the previous facility
        (Shiloh Treatment Center), but then did not receive medications for six weeks
       after transferring to SVJC. D.M. experienced periods of crisis in which he would
       want to hurt himself and, instead of receiving counseling, would be taken out of
       his cell and put in a restraint chair for about one hour. He would be handcuffed
       and strapped in the chair from his feet to his chest.·A bag with little holes was
       put over his head, which made him feel like he was being suffocated. "They are
      ·going to suffocate me. They are going to kill me." This was undoubtedly a very
       traumatizing and humiliating experience for D.M. and, in my opinion, borders on
       a form of torture and cruel, inhumane punishment.-'Ihis-tY-J)-e--OLco.ntr.ol.li.ng_and __
       degrading response suggests that the facility staff were not trained in dealing
       with mental illness and were simply trying to control D.M. because of their own
       fears. It is situations like this that breed fear, distrust, and resentment amongst
       detainees and lead to further acting out as a way to protect themselves.

72.       D.M. witnessed two other boys being put in the restraint chair as a
       punishment for fighting. However, he never had any fights and was only put in
       the restraint chair when he was in crisis.

Youth in the Juvenile Justice System/Detention:

73.       Immigration detention has a significant detrimental effect on· the mental
      health of all children and youth no matter whether they have suffered previous
      trauma or whether they are UACs. Psychological harm has consistently been
      associated with detention. 1 4 Children held in detention are at risk for many
      psychological problems such as depression, anxiety, PTSD, suicidal ideation, and
      self-destructive behavior. The longer children and youth are detained, the
      greater the chance of mental health problems developing.is Immigrant children



14 Kronick, R., Rousseau, C., & Cleveland, l (2015). Asylum-seeking children's
experiences of detention in Canada: A qualitative study. American Journal of
Orthopsychiatry, 85, 287-294.
1s Australia Human Rights and Equal Opportunity Commission. (2004). A last
resort? National inquiry into children in immigration detention, 357-454,
https://www.humanrights.gov.au/sites/default/files/document/publication/alr_co
mplete.pdf

                                                                                       18
                  and youth who are detained even for very short periods of time show signs of
                  psychological deterioration.16

            74.      Research indicates that a high percentage of youth involved in the juvenile
                  justice system have been exposed to multiple types of traumatic events including
                  violence, family abuse, and traumatic losses. 17 These youth often become
                  distrustful, hypervigilant, impulsive, reactively aggressive, and display lack of
                  empathy for others.rn

            75.      Punitive approaches such as prolonged isolation, restraints, and physical
                  abuse are harmful and ineffective. For example, 50% of all suicides in juvenile
                  facilities occur while youth are held in isolation. 19 Facilities, including SVJC,
                  continue to harm youth by using force ( e.g., aggressively restraining youth) and
                  isolation as means of behavioral control rather than using de-escalation, conflict
                  resolution, and trauma-informed strategies that are more effective and not
                  harmful.20

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            . problems at higher rates than the general population. 21 Their mental illnesses
             get worse when they are detained, especially when interventions such as solitary
              confinement and force are utilized. 22 These types of practices serve to re-
             traumatize already vulnerable youth and can retrigger painful feelings of fear,

        16 Lorek, A., Ehntholt, K., Nesbit, A., Wey, E., Githinji, C., Rossor, E., &
        Wickramasinghe, R. (2009). The mental and physical health difficulties of children
        held within a British immigration detention center: A pilot study. Child Abuse &
- - - -Neglect: The lnternatronal]ournal, :Ir,-57T-5ff5.                          --------------
        http://dx.doi.org/10.1016/j.chiabu.2008.10.005
        17 Ford, J., Grasso, D., Hawke, J., & Chapman, J. (2013). Poly-victimization among
        juvenile justice-involved youths. Child Abuse and Neglect, 37, 788-800,
        http://dx.doi.org/10.1016/j.chiabu.2013.01.005
       1s Report of the Attorney General's National Task Force on Children Exposed to
       Violence (2012).
       19 Puzzancherra, C., & Hockenberry, S. (2016). Data reflect changing nature offacility
       populations, characteristics, and practices. Pittsburgh, PA: National Center for
       Juvenile Justice.                                                                    ·
       l-l-tt-p~H--WWW.f>-j-j.fip..gG-Vf-Gj-statb-h-/-s-nap&hGt-S-J-DataSna-pshG~~RF-C2 0·~1~4--,p~-~ - -- - -- - -
       20 Bilchik; S., Umpierre, M., & Lenhoff, C. (2017). A roadmap for change: How juvenile
       justice facilities can better serve youth with mental health issues. Focal Point, 31, 13-
       16, www.pathwaysrtc.pdx.edu/publications
       21 Fujio, C. (2011). Dual loyalties: The challenges of providing professional health care
       to immigration detainees. Physicians for Human Rights,
       www.physiciansforhumanrights.org
       22 Holman, B., & Ziedenberg, J. (2006). The dangers of detention: The impact of
       incarcerating youth in detention and other secure facilities. Justice Policy Institute,
       www.justicepolicy.org

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       helplessness, powerlessness, and loneliness. 23 Furthermore, the harm caused by
       these practices can often be long-term and difficult to remediate. Their use falls
       well below professional standards for treating detained youth.

 Use of Solitary Confinement and Seclusion in Youth:

 77.      Solitary confinement can lead to severe psychological and physical effects
       including difficulties with thinking, overt paranoia, panic attacks, illusions and
       hallucinations, self-injurious behavior, hopelessness, sleep disturbances,
       headaches, heart palpitations, and dizziness. 24

 78.       Youth are frequently subjected to solitary confinement for one of three
       reasons: to punish them (disciplinary segregation); to manage them because
       they are considered dangerous (administrative segregation) or vulnerable to
       abuse (protective custody); or as a form of tr~atment (e.g., seclusion after a
       suicide attempt). Youth held in solitary confinement, especially when it is
       frequent or prolonged, needlessly suffer a great deal and can become depressed
       and s uici.d.a1,....s.elf-=-inµlri.o .us,acutely- anxi o us._o.i:..._psy...cho tic, an cL agg.r.essi:v.e..-Th.ey-
       a re at increased risk of having psychological problems if they have a history of
       trauma and abuse. Youth are also at increased risk simply because their bodies
       and brains are still developing physically and psychologically. When youth are
       placed in solitary confinement they are often restricted from getting adequate
       exercise and recreation, socialization, nutrition, and education. 25

Interpersonal dynamics in working with youth in facilities such as hospitals.
schools. and detention centers:

79.       Youth who are hospitalized for psychiatric reasons (e.g., being a danger to
      themselves or others) will sometimes "act out" towards themselves or others
      while hospitalized. While these episodes may be a manifestation of their mental
      illness ( e.g., their depression or psychosis), they may also occur in response to
      either inappropriate actions or inappropriate monitoring on the part of the staff.
      For example, staff that react in verbally or physically aggressive and punitive
      ways to youth who are getting out of control will often trigger further acting out
      because the youth feel angry and unsafe. Milieu meetings · (when staff and
      adolescents meet together) and team meetings (when the entire treatment team

23 Burrell, S. (2013). Trauma and the environment of care in juvenile institutions. Los
Angeles, CA & Durham, NC: The National Center for Child Traumatic Stress,
www.NCTSN.org
24 Fujio, C., & Corradini, M. (2013). Buried alive: Solitary confinement in 'the US
detention system. Physicians for Human Rights,
http://physiciansforhumanrights.org/solitary
2s Human Rights Watch/ American Civil Liberties Union. (2012). Growing up locked
down: Youth in solitary confinement in jails and prisons across the United States,
https://www.aclu.org/files/assets/us1012webwcover.pdf

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                   meets) are held regularly to address these issues. Periodic staff trainings address
                   the kinds of psychological problems youth experience and appropriate ways of
                   treating them while hospitalized.

            80.       Youth who are hospitalized for medical reasons (e.g., complications of a
                  chronic illness or surgery) often display behavioral and emotional difficulties
                  due to such things as the degree of pain they are experiencing, the enforced
                  dependency brought about by being hospitalized, anxieties about their illness
                  and the treatment they will need to undergo, and being separated from their
                  parents. However, hospitalized youth will also exhibit behavioral and emotional
                  difficulties (e.g., refusing to comply with recommended treatments) when they
                  feel misunderstood or mistreated by medical and nursing staff. For this reason,
                  multidisciplinary team meetings, case conferences, an~ regular staff trainings
                  are held to enable staff to discuss their frustrations and concerns regarding
                  particular adolescent ·p atients, to cpordinate patient c~re, to educat_e staff on the
                  problems the youth are experiencing and more effective approaches in dealing
                  with these problems, and to help the staff become aware of how their
                  communication and -b.eha.vJ.or:.-.at times tri.g...ge.z:.s-----th.e.ir adol-esce.nt ._p.ati.en t.s.'. .
                  noncompliance and acting out.

            81.      All teachers, but especially those working with youth with various
                  developmental and psychological difficulties, need help in understanding the
                  emotional and learning needs of their students, to develop appropriate ways of
                  behavior management, and to understand how their own verbalizations and
                  behaviors may at times unintentionally provoke their students to act out. In-
                  service training and consultation are provided to assist teachers with these
- - - - - - -issues,-. - - - - - - - -

            82.      The interpersonal dynamics that exist in hospitals and schools that treat and
                  work with youth are also manifested in juvenile -detention centers. Just as
                  medical personnel and teachers need education, training, and consultation to
                  understand how their own reactions can provoke negative reactions in youth, so
                  too do detention center staff that work with youth. Training juvenile detention
                  center staff in conflict de-escalation strategies and trauma-informed care would
                  help them to better understand youth who are traumatized, to better understand
                  interpersonal situations and dynamics that can trigger traumatic reactions in
                   ou     n o e rn mor - effec 1v wa~ to manage these situarums This. in turn
                  would enable staff to meet basic professional standards of care in ways that are
                  not harmful to detainees.




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             Trauma-Informed Treatment of Juveniles:

             83.       Trauma-informed approaches are the standard of care in all stages of the
                   juvenile justice system.26 UACs, because of their substantial histories of trauma
                   and loss, are members of a particularly at-risk population that is in need of
                   specialized mental health services including comprehensive clinical assessments
                   that consider both their early traumas as well as their current hardships and
                   stressors. 27

             84.       Recent research suggests child abuse and neglect targets certain brain
                   regions and pathways and can lead to brain abnormalities. Essentially, once a
                   child has experienced maltreatment, the world is experienced with a different
                   nervous system. 28 Psychological treatment must address the. chronic emotional
                   dysregulation, ruptured attachments with caregive~s, and deficiencies .in
                   personal identity and ·competen~e caused by the trauma of the abuse and
                   neglect. Treatments and approaches that simply try to · control behavior rather
                   than working to restore the underlying brain abnormalities and treating the
                   "trauma" will be ineffective-and Hkely harmfttJ.29

            85.      Treatment of detained youth is served when the social ecology in which these
                  youth are embedded is addressed - i.e., when it is understood that the social
                  environment and the interpersonal dynamics to which the youth is exposed can
                  also contribute to the youth's problems and re-victimize them. More specifically,
                  there needs to be an assessment of the extent to which a detention facility is
                  capable of helping traumatized, emotionally-dysregulated youth to regulate their
                  emotions and behaviors. 30 Often, there is a disconnect between these two
                  1eading to a punitiv.e, _mer.cive approach that jus.Ltreats the particu ar yQut ~ - - - - - -
                  the problem and easily leads to punishment, seclusion, aggressive force, and
                  over reliance on medication to control the youth's "bad behavior." This approach
                  essentially ignores the fact that many, if not most, detained youth have been

         26 The National Child Traumatic Stress Network. (2016). Essential elements of a
         trauma-informed juvenile justice system, www.NCTSN.org
         27 Betancourt, T., Newnham, E., Birman, D., Lee, R., Ellis, H., & Layne, C. (2017).
         Comparing trauma exposure, mental health needs, and service utilization across
         clinical sam les ofrefug~e, immigrant, and U.~.::_orLgi12 children.Journal o Traumatic
- - - - ~,t:f'.e--ss,-J-~4--1ij..-
                                 , - - -- - - - - - - - - - - - - - - - - - - - - - - - -
         28 Teicher, M. and Samson, J. (2016). Annual research review: Enduring
         neurobiological effects of childhood abuse and neglect.journal of Child Psychology
         and Psychiatry, 57, 241-266.
         29 Van der Kolk, B. (2016). Commentary: The devastating effects of ignoring
         maltreatment in psychiatry- a commentary on Teicher and Samson 2016.Journal of
         Child Psychology and Psychiatry, 57, 267-270.
         30 Saxe, G., Ellis, 8., & Kaplow, J. (2007). Collaborative treatment of traumatized
         children and teens: The trauma systems therapy approach. New York: The Guilford
         Press.

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                        previously traumatized and/or will be traumatized while in detention and that
                        their "bad behaviors" are often trauma based. That is, the "bad behaviors" are
                        often traumatic reactions to being detained or to provocative peer and staff
                        behavior.

                  86.      The primary purpose of a trauma-informed juvenile detention system is to
                        provide an environment in which youth feel safe, are assisted in coping when
                        past traumatic experiences are triggered, and in which exposure to potentially
                        traumatizing reminders or events is reduced. 3l This would necessitate:
                        appropriate trauma-informed policies and procedures; appropriate methods of
                        screening, assessing, and treating traumatized youth; culturally sensitive,
                        trauma-informed programs that strengthen the resilience of youth; and
                        culturally sensitive, trauma-informed staff education and training.32

                  87.     There are three major implications of utilizing a trauma-informed approach.
                      The first is that understanding behaviors as symptoms of trauma will lead to
                       appropriate interventions that can reduce these symptoms and improve overall
        -      - ------funet-ion-ing. The -s-ee0-n-d----i-s- tha-t---t-hi-s- t:yp·e of-app-roaeh- will encourage a- more-
                      global or systems perspective on traumatized youth such that other alternatives
                      to detention can be considered which are less restrictive and allow for more
                      comprehensive trauma treatment.33The third is that staff trained in trauma-
                      informed care rely less on the use of restraint and seclusion, are better able to
                      manage their own emotions and behaviors, and find their work more
                      rewarding.3 4

                  Failure to Utilize a Trauma-Informed Approach at SVJC:

                  88.      My evaluation of Doe 1 and the records provided me, along with my review of
                        the declarations of the other plaintiffs, suggests that the approach utilized with
                        the detainees at SVJC was primarily based on behavioral control and punishment
                        that was often of a humiliating and abusive nature. Although there is
                        documentation that Doe 1 received some mental health treatment, there is no
                        documentation or other indication of efforts to utilize a trauma-informed
                        treatment approach, or to address staff behaviors that were abusive and

                  31 Buffington, K., Dierkhising, C & Marsh, S. 2010 . Ten thin9s ever)!_Juvenile court
                                                        2
- - - -=--=-     -fudg-e-sh.-O-ul-d-kng.W-Q.bg-UUro-um-<1--Q-OO-deJ.i.nq.uenG)4--Re--ru>, N.\4-Na-ti-f>.na-l-Go-UH-Gi-1-o£- - - - - - --
                 Juvenile and Family Court Judges.
                  32 The National Child Traumatic Stress Network. (2016). Essential elements of a
                 trauma-informed juvenile justice system, www.NCTSN.org
                 33 Kretschmar, J., Capizzi, A., & Shafer, E. (2017). A decade of diversion: Ohio's
                 behavioral health juvenile justice initiative. Focal Point, 31, 22-24,
                 www.pathwaysrtc.pdx.edu/publications
                 34 Marrow, M., Knudsen, K., Olafson, E., & Bucher, S. (2012). The value of
                 implementing TARGET within a trauma-informed juvenile justice setting,Journal of
                 Child &Adolescent Trauma, 5(3), 257-270.

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                 provocative in contributing to the detainees' behavior. In other words, the
                 approach utilized at SVJC is based on the notion of needing to control and punish
                 "bad behavior" on the part of youth vs. understanding that many, if not most, of
                 these youth are demonstrating traumatic "fight or flight" reactions in response
                 to being detained, as well as in response to being secluded, confined, mistreated,
                 and misunderstood by staff.

           89.      When the behavior of youth in juvenile facilities is simply seen as "bad"
                 behavior and not seen from a trauma-informed lens (in which the behaviors are
                 viewed as originating in trauma and adversity) then the behavioral problems
                 worsen, the chances for rehabilitation are reduced, and the likelihood of youth
                 becoming further involved in the juvenile justice system is increased.35

           90. . Simply put, it is not sufficient to offer general mental .s.ervices to youth who ·
               are UACs and/or are involved in the juvenile justice system; given the high
               likelihood they have been previously traumatized. When youth have been
               exposed to violence, abuse, and neglect growing up they may respond by
               becomi·ng-·defiant, app-earing-indifferent;-or b-ecurntn-g-a:ggres·sive-as·-a- means or-
               protecting themselves. Their attempts to protect themselves from further
              victimization and helplessness when in detention are often motivated by a
              desire to feel safe and in control rather than by the callous indifference and
              antisocial qualities often attributed to them as "delinquents." 36 When this
              difference is not understood and the role played by traumatic stress is
              overlooked (as is often the case in detention facilities), then harsh, punitive, and
              harmful approaches such as seclusion, restraint, and staff aggression become the
              default methods utilized.

          Opinions:

          91.  Plaintiff John Doe 1 experienced abuse and neglect from his parents, as well
        as teasing from his peers, when growing up in Mexico. These traumatic
        experiences were replicated when he was detained at SVJC. He experienced
        teasing, humiliation, physical assault, confinement, chair restriction for long
        periods of time, and was handcuffed and shackled many times. Experiences like
        these have instilled a legacy of shame, resentment, fear, and distrust in Doe 1
        that he will likely n~ver ful!Y._ recover frq__m ~ithout ro er traum=                              a-~in=i~o~r-=
                                                                                                                       m~e~d~ - - - - -
- - - -~ .....atment.o_v..e.i.:..a-consi.dei:able-pe-i:i.od----of-ti.m.g.i.r-i-a...safg.sgtt-i-T-1-g,- - - -- - - - - - - - - - -



          35 Kinscherff, R., & Keator, K. (2017). Adversity, trauma, and behavioral health needs
          among justice involved youth. Focal Point, 31, 17-19,
          www.pathwaysrtc.pdx.edu/publications
          36 Ko, S., Ford, J., Kassam-Adams, N., Berkowitz, S., Wilson, C., & Wong, M. (2008).
          Creating trauma-informed systems: Child welfare, education, first responders,
          juvenile justice. Professional Psychology: Research and Practice, 39 (4), 396-404.

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               92.        The mental health care provided to Doe 1 at SVJC was deficient. The main
                     approach was to emphasize the consequences of his continuing to engage in
                     aggressive behavior as a way to deter him. There was no attempt to understand
                     the underlying traumas that were being triggered in Doe 1, and there was very
                     little effort to help him learn more adaptive self-soothing and self-regulating
                     strategies.

               93.      Although Doe 1 had a history of being depressed as a child in Mexico,
                     nevertheless, his feelings of being abused and trapped at SVJC greatly
                     exacerbated his depression and at times led to self-injurious and suicidal
                     behavior. At other times this led to aggressive behavior. However, rather than
                     viewing these behaviors as "survival-in-the-moment" behaviors in which Doe 1
                     was essentially coping the best that he could in a prison-like environment, these
                     behaviors W€:re · viewed as "bad" behaviors in need of punishment through
                     confinement and loss of behavioral leve1s.                 ·

              94.        The psychological evaluation conducted by Gustavo Rife, Psy.D appears to
                     have been heavily relied upon to direct Doe l's treatment. Dr. Rife largely viewed
                     Doe 1 as a depressed, conduct-disordered adolescent in need of confrontation
                     and containment for his antisocial and delinquent tendencies. There was no
                     attempt to understand these behaviors from a complex trauma framework in
                     which his aggression could be seen as reactive to his environment and those
                     around him as a way to protect himself from being victimized. As a result, Dr.
                     Rife's report served to further justify the behavioral control and confrontation
                     approach utilized by both mental health and other staff, which exacerbated Doe
                     l's preexisting trauma.

              95.
                A review of the Declaration of John Doe 2 suggests that he may have been
           overmedicated as a means of behavioral control and that he suffered from racist
           and discriminatory attitudes and behaviors of staff. When the environment in
           which youth reside does not treat them equally and justly, it is not unusual to
           expect that they would feel humiliated and would talk back and/or become
           aggressive as a way to survive and try to maintain their dignity. Doe 2's
           aggressive behaviors were punished with prolonged confinements, unnecessary
           physical force, and being strapped to a chair with a bag over his head - all of
           which represent cruel, traumatizing, and degrading forms of punishment. Such
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           is likely to result in compounding prior trauma and causing longstanding harm.

              96.       A review of the Declaration of John Doe 3 suggests that he was a victim of
                    excessive force on multiple occasions; suffered humiliation and degradation as a
                    result of racial and derogatory staff remarks, lack of privacy in his room, and
                    being stripped of all his clothes except for his underwear; and was unreasonably
                    restrained, handcuffed and/or confined, for minor infractions. Doe 3's history of
                    fleeing gang violence and death threats in Honduras, as well as his dangerous
                    journey to the U.S. suggests a youth with considerable past trauma who was


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      likely retraumatized while in detention due to the excessive punishment and
      degrading experiences he suffered there. A youth such as Doe 3 is in need of an
      environment that is safe and responsive to his needs vs. a detention facility such
      as SVJC that appears to discriminate against immigrant youth, that enforces rules
      inconsistently and arbitrarily, and that utilizes harsh and cruel punishment as a
      means of controlling youth who act out. This form of control leads to shame and
      helpless rage on the part of the youth (who feel misunderstood and treated
      unfairly) and inadvertently leads these youth to continue to act out further
      through self-destructive and/or outwardly aggressive behavior.

97.      A review of the Declaration of J.A. suggests that he was subjec~ to extremely
      and unreasonably harsh punishment including: being put in solitary
      confinement for long periods· of time; and left naked and strapped to a chair for
      more than two days. These experiences were likely highly traumatizing t_o him.

98.      A review of the Declaration of R.B. suggests that he was highly traumatized
      while at SVJC and may have had a psychotic episode when in solitary
      confinement H-e-be-gan-tallfi-ng-t-e--h-imself,hitting-his head-against the wal-lTand- -
      felt he was going crazy. His experiences at SVJC appear to have been highly
      disturbing to him and to have had an enduring impact - he said he had lost his
      optimism for life and that both he and his mom noticed that he had changed and
      was not the same person anymore.

99.      A review of the Declaration of D.M. suggests that he did not receive
      appropriate mental health care for his psychiatric conditions. He not only was
      not given his medications for six weeks after being transferred to SVJC, but was
      pu ma res rame_ cnait on several .occasi.ons when_li:e was m "cns1s" and wEnting
      to hurt himself. While in the restraint chair, a bag with holes was put over his
      head causing D.M. to fear that he would suffocate and die. This was undoubtedly
      highly frightening and traumatizing for D.M. It would not be surprising if he
      developed PTSD symptoms as a result of these experiences.

100. The predominant approach utilized at SVJC is that of punishment and
   behavioral control through such methods as solitary confinement, physical
   restraint, strapping to a restraint chair, and loss of behavioral levels. These
   approaches are not only unsuccessful, but are extremely detrimental to detained,
--tr:aumatize.cLy:ou.th..-=--.esp.ecially-tO.::UACs . . A.t..times_tlie:.us.e__ofi_olitacy_.conJioe mew~
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   and restraint chairs re.ached the level of what could be considered torture and
   other cruel, inhuman or degrading treatment or punishment. The use of these
   kinds of methods leads to a vicious cycle in which youth, who are already
   distrustful and traumatized, become further distrustful and traumatized when
   staff punish them. This leads them to act out even more and then justifies to the
   staff the need for further efforts to control and punish the youth.

101. From my evaluation of Doe 1 and the materials I reviewed, it is my opinion
   that SVJC facility staff do not understand the manifestations of trauma and stress

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   in youth and are not well trained in dealing with highly traumatized children and
   youth. To avoid harming youth, SVJC needs to implement trauma-focused
   approaches that will help st~ff to understand how easily the past experiences of
   abuse and trauma in some youth, especially UACs, can be triggered, especially
   when staff are abusive or 1 insensitive. Implementing these appro~ches will
   require appropriate traumr1-informed policies and procedures, appropriate
   methods of screening, assessing, and treating traumatized youth, : culturally
   sensitive and trauma-inform~d programs that strengthen the resilience of youth,
   and culturally sensitive, trauma-informed
                                 I    .
                                              staff education and training.
                                                                   .

 02. While all detainees (adults  I
                                    as well as children) should be treated with dignity
    and respect, this is especial~y critical for children and youth becau~e of their
    inherent vulnerabilities. Approaches tbat violate the rights of .children and
    youth, that. do not consider their "best interests", and that are pu:nitive are
    detrimental to them and hav~ no place in the juvenile justice system. Irreparable
    harm can result from punitive, physically abusive approaches because of the
    residual psychological scars prought about by youth no longer feeling safe in the
    world and no longer being able to trust others to treat them with dignity and
  - respect-:-Wnife the extent of ~amage caused by these approaches canr!ot always
    be determined in the momeqt, it is likely that many of these detained youth will
    never fully recover from tiheir traumatic experiences prior to a~d during
   detention, particularly if effebtive trauma-informed treatment is not available to
   them.                          j

1 3. SVJC staff frequently violated the rights of youth in their custody aJid became
   outright abusive as a way t0 maintain control. The punitive methods used by
   SVJC staff often reached tHe threshold of torture and cruel, inhuman, and
 --degraaing punishment and i <e y         substantial, if not irreparaole:-harm to
   these youth.
                                   I
                                   !
l 4. Detention, in and of itself, is traumatizing to youth, but even more so when
   their physical and emotional needs are not met, when they are subjected to
   abuse, and when their envirpnment does not keep them safe. It is my opinion
   that the mental health care and the overall care provided at SVJC are deficient
   and fall far short of the stand~rds of care expected in the juvenile justice system,
   and that this represents deliberate indifference .to the health and mental health


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   needs of the Plaintiffs, as well as the other detainees at SVJC.

         cerely,       -f,, ,. . ,

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                   Lewis, Psy.D.




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                                 Appendix A:


 l. Declaration of Plaintiff John Doe 1, dated January 17, 2018

 2. Declaration of Plaintiff John Doe 2, dated January OS, 2018

 3. Declaration of Plaintiff John Doe 3, dated January OS, 2018

 4. Declaration of J.A., dated January 08, 2018

 5. Declaration of R.B., dated January 08, 2018

 6. Declaration of D.M., dated January 02, 2018
                                                              .       .
· 7. Forensic Psychological Assessment of Plaintiff John Doe 1 by Gregory N.
     Lewis, Psy.D., dated October 10, 2017

 8. John Doe v. Shenandoah Valley Juvenile Center Commission Class Action
    Complaint, filed October 4, 2017

 9. John Doe v. Shenandoah Valley Juvenile Center Commission First Amended
    Class Action Complaint, filed January 31, 2018

 10. Office of Refugee Resettlement Records for Plaintiff John Doe 1:
         • Case Management and Progress Notes
 - - -.- - finical.Addendum 5y Evenor Aleman, ~~d.S., atea May T,'2-Ur
         • Medical Evaluations by Timothy J. Kane, M.D.
         • Psychological Evaluation by Angela Medellin, M.Ed., LPC and Anne M.
             Esquivel, Ph.D., not dated
        • Psychological Evaluation by Gustavo E. Rife, Psy.D., dated May 4, 2016




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                                 Appendix B:

1. KimberlyDoe, eta!. v. United States, 1:11-cv-907-LY(WD. Tex. - Austin
   Division)

2. D.B., as next friend of R.M.B, a minor, v. Cardall et al., 1:15-cv-00745-JCC-JFA
   (ED. VA. - Alexandria Division): Brief of Amici Cmiae Linda Brandmiller,
   Holly Cooper, Greg Lewis, Carter White and Lorilei Williams in support of
   appellant' s petition for panel rehearing or rehearing en bane

3. Abraxas Litigation: L.M VF., et al. v. United States, 5:08-CA-124-XR (WD. Tex.
   - San Antonio Division)

4. Nrxon Litigation: Gaitan-Fabian: et a( V . Dunn, et al., 5:08-CV-26.9-XR (Wb.
   Tex." -·san Antonio Division)                                 ·




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